







		NO. 12-07-00049-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




EDDIE BESHAWN THOMAS,§
	APPEAL FROM THE 7TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Eddie Beshawn Thomas appeals his conviction for possession of a controlled substance, for
which he was sentenced to imprisonment for thirty years.  Appellant's counsel filed a brief in
compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967) and
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  We affirm.


Background

	Appellant was charged by indictment with possession of a controlled substance, specifically
possession of more than 400 grams of cocaine.  Appellant pleaded "not guilty," and the matter
proceeded to a bench trial.  At the outset of trial, Appellant made a motion to suppress, which was
denied.  Thereafter, Appellant stipulated to the evidence on the record.  The trial court found
Appellant to be "guilty" as charged, and a trial on punishment was conducted.  Ultimately, the trial
court sentenced Appellant to imprisonment for thirty-eight years.  This appeal followed.


Analysis Pursuant to Anders v. California

	Appellant's counsel filed a brief in compliance with Anders v. California, 386 U.S. 738, 87
S. Ct. 1396,18 L. Ed. 2d 493 (1967) and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).
Appellant's counsel states that he has diligently reviewed the appellate record and is of the opinion
that the record reflects no reversible error and that there is no error upon which an appeal can be
predicated.  He further relates that he is well acquainted with the facts in this case.  In compliance
with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978), Appellant's
brief presents a chronological summation of the procedural history of the case and further states that
Appellant's counsel is unable to raise any arguable issues for appeal. (1)  We have likewise reviewed
the record for reversible error and have found none.


Conclusion

	As required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), Appellant's
counsel has moved for leave to withdraw.  We carried the motion for consideration with the merits. 
Having done so and finding no reversible error, Appellant's counsel's motion for leave to withdraw
is hereby granted and the trial court's judgment is affirmed.

Opinion delivered June 25, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.














(DO NOT PUBLISH)
1.  Counsel for Appellant certified in his motion to withdraw that he provided Appellant with a copy of this
brief.  Appellant was given time to file his own brief in this cause.  The time for filing such a brief has expired and
we have received no pro se brief.


